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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,

4                v.                                20 Cr. 76 (NRB)

5    ZACHARY CLARK,
     a/k/a "Abu Talha,"
6    a/k/a "Omar Kabir,"
     a/k/a "Omar Shishani"
7                   Defendant.
                                                   Arraignment
8    ------------------------------x

9                                                  New York, N.Y.
                                                   February 3, 2020
10                                                 3:15 p.m.

11   Before:

12
                          HON. NAOMI REICE BUCHWALD,
13
                                                   District Judge
14
                                   APPEARANCES
15
     GEOFFREY S. BERMAN
16        United States Attorney for the
          Southern District of New York
17   BY: GILLIAN GROSSMAN
          MATTHEW HELLMAN
18        Assistant United States Attorneys

19   FEDERAL DEFENDERS OF NEW YORK
          Attorney for Defendant
20   BY: JONATHAN MARVINNY

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1    2/3/2020

2    20Cr.   76

3    United States vs. Zachary Clark

4    arraignment and initial conference

5    for the government:     Gillian Grossman and Matthew Hellman.

6    for the defendant Jonathan Marvinny.

7    -- -- ------------------------------------------------

8               THE COURT:   Good afternoon.     Everyone may be seated.

9    Okay.

10              (Case called)

11              MS. GROSSMAN:   Yes, your Honor.

12              Gillian Grossman and Matthew Hellman, for the

13   government.

14              THE COURT:   All right.    Is this Mr. Clark's first

15   appearance, subsequent to this indictment?

16              MS. GROSSMAN:   Yes, your Honor.

17              THE COURT:   Okay.   So, Mr. Marvinny, have you received

18   a copy of the indictment in this case?

19              MR. MARVINNY:   Yes, your Honor.

20              THE COURT:   And have you had a chance to review it

21   with Mr. Clark?

22              MR. MARVINNY:   Yes, your Honor.

23              We would waive its public reading.

24              THE COURT:   Mr. Clark, how do you plead, guilty or not

25   guilty?


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1              THE DEFENDANT:     Not guilty.

2              THE COURT:    Have the parties had a chance to discuss

3    next steps in terms of discovery or perhaps other things?

4              MS. GROSSMAN:    Yes, your Honor.

5              The government is ready to make its first discovery

6    production today.     And we expect the production of discovery to

7    be substantially complete by early March.

8              The defendant and defense counsel have signed a

9    stipulated protective order, which, if the Court would like, we

10   can hand up for the Court's consideration.         We've asked defense

11   counsel to provide one terabyte hard drive for the government's

12   second discovery production, given the volume of materials.

13             THE COURT:    Okay.

14             Do you want to hand that up?

15             MS. GROSSMAN:    Yes.   Thank you.

16             THE COURT:    I've signed it.

17             MS. GROSSMAN:    Thank you, your Honor.

18             THE COURT:    So, Mr. Marvinny?

19             MR. MARVINNY:    I would respectfully request coming

20   back to this Court approximately 45 days after discovery is

21   complete.   We're looking at about a terabyte of discovery, so I

22   think that seems like an appropriate time frame, your Honor.

23             THE COURT:    Well, on the assumption, as the government

24   said, that discovery would be completed by early March.

25             MR. MARVINNY:    Mid April?


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1               THE COURT:   Okay.    How about April 21st, at 2:30?

2               MR. MARVINNY:   Thank you.

3               THE COURT:   Is that good for the government?

4               MS. GROSSMAN:   Yes, your Honor.      Thank you.

5               Mr. Marvinny, any objection to excluding the speedy

6    trial?

7               MR. MARVINNY:   No.

8               THE COURT:   I find a continuance until April 21st

9    serves the ends of justice and outweighs the best interests of

10   the public and the defendant in a speedy trial in that it will

11   permit time for the government to make discovery and for the

12   defendant to consider that discovery.

13              Is there anything else at this time?

14              MS. GROSSMAN:   Yes, your Honor.

15              Just one matter.     We wanted to notify the Court that

16   we anticipate filing a motion pursuant to the Classified

17   Information Procedure's Act in this case, otherwise known as

18   CEPA.    That motion is typically filed ex parte, which is how we

19   intend to file it here.      And we'd like to have a Section (2)

20   conference with the Court in order to describe what the Section

21   (4) motion under CEPA will entail.       And we're asking to have

22   that conference ex parte as well, so that we can discuss the

23   content of the motion with the Court and describe the

24   classified material at issue.

25              The government has conferred with the classified


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1    information security officers assigned to this district, who

2    would attend such a conference.       They're available any Friday

3    in February, if that works for the Court, or whatever date, of

4    course.

5              THE COURT:    That is, for multiple reasons, not

6    convenient.    Are there other dates that they would like --

7    non-Fridays that they would like to consider and skipping

8    President's week?

9              MS. GROSSMAN:    They didn't provide us with any.        So I

10   would suggest scheduling the conference to the Court's

11   convenience.    And we'll make sure that an officer makes himself

12   available.

13             THE COURT:    Is there some particular reason that they

14   pick Fridays?

15             MS. GROSSMAN:    Yes, your Honor.

16             The officers assigned to this are district are

17   currently engaged in -- assigned to attend a trial every day

18   occurring in this district that deals with a large quantity of

19   classified information.

20             THE COURT:    Okay.   I think the officer dropped by

21   chambers earlier today.

22             How long is that trial expected to continue?

23             MS. GROSSMAN:    I expect at least a month, your Honor.

24             THE COURT:    Okay.   And, again, that judge does not sit

25   on Fridays.    Okay.   What I would suggest -- and maybe you can


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1    get back to me -- is maybe we could do something at the end of

2    the day after that trial comes to an end.

3              MS. GROSSMAN:    Yes, your Honor.

4              THE COURT:    That seems like a possibility.

5              MS. GROSSMAN:    Absolutely.     And I'll suggest that to

6    the --

7              THE COURT:    Okay.   Why don't we do that.

8              MS. GROSSMAN:    Okay.    Thank you.

9              THE COURT:    Okay.   All right.    So you'll get back to

10   me?

11             MS. GROSSMAN:    Yes, your Honor, we will.

12             THE COURT:    All right.    Anything further?

13             MR. MARVINNY:    No, your Honor.

14             THE COURT:    Okay.   Very good.    Thank you.

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